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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

                               CASE NO.: 21-CV-00283-SPC-KCD

 DAVID SCHWARTZ,

                Plaintiff,
          v.

 ADP, INC. and
 AUTOMATIC            DATA       PROCESSING,
 INC.,

            Defendants.
 ______________________________/

                             MOTION FOR SANCTIONS DUE
                             TO SPOLIATION OF EVIDENCE

          Defendants, ADP, INC. (“ADP”) and AUTOMATIC DATA PROCESSING,

 INC. (“Automatic”)(collectively “Defendants”), by and through undersigned counsel

 and pursuant to Florida Rule of Civil Procedure 1.380(b)(2), hereby file this Motion

 for Sanctions against the Plaintiff for his destruction of evidence, and state:

                                        OVERVIEW

          This Motion for Sanctions arises from the Plaintiff’s spoliation of electronically

 stored information, specifically the contents of an iPad. For three years after he was

 terminated from ADP in mid-2018, Schwartz unlawfully refused to return an iPad

 which ADP had issued to him during his employment. Schwartz simply kept – more

 accurately, he stole – the iPad. During his employment, Schwartz used the iPad to access

 his Apple ID on Apple servers; access ADP servers; access ADP’s virtual private

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 network; and use ADP applications. In early 2020, Schwartz came to believe that

 there was an unexplained connection between servers owned by Apple, Inc. (“Apple”)

 and ADP which somehow related to his Apple ID accounts. A common-sense

 explanation is that the “connections” were made when (a) Schwartz was accessing his

 Apple ID accounts on the iPad which he stole from ADP and/or, in the background,

 (b) applications and security software on the iPad (the latter called “mobile device

 management software”) were dutifully “pinging” Apple servers to verify the integrity

 of the device and the software. We will never know. When Schwartz finally returned

 the iPad to ADP in September 2021, the iPad was factory reset (erased) and missing

 its SIM card.

          Schwartz’s spoliation of the data on the iPad hampers, if not defeats, the

 Defendants’ ability to conduct discovery and defend themselves. Because the iPad

 was factory reset, all data on the iPad is lost. It is reasonable to believe that the data

 and applications on the iPad would provide insight or even a complete explanation

 behind Schwartz’s “connection” between ADP and Apple servers. Now that evidence

 is gone.

          Schwartz either intentionally destroyed evidence in his possession or he was

 grossly negligent in not preserving the iPad which is an obvious vector and source of

 evidence to explain the connection between Apple and ADP servers as it relates to

 Schwartz’s Apple ID accounts. Sanctions are warranted.




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                                  BACKGROUND FACTS

          Plaintiff, DAVID SCHWARTZ (“Schwartz” or “Plaintiff”), filed his Third

 Amended Complaint (“TAC”)(ECF No. 50) alleging various causes of action against

 the Defendants, including violations of the Wiretap Act, Stored Communication Act

 (“SCA”), and the Florida Security of Communications Act (“FSCA”). Schwartz

 contends that, after he was fired from ADP in July 2018, the Defendants allegedly

 “accessed” (for SCA purposes) or “intercepted” (for Wiretap Act and FSCA purposes)

 Schwartz’s communications.1          Specifically, the Plaintiff contends that there is a

 “connection” of some kind between ADP and Apple servers across the internet which

 somehow relates to Schwartz’s Apple ID accounts. See, e.g., TAC, paragraphs 71, 79,

 80, 81.

          After he was fired in July 2018, Schwartz admits that he retained the iPad which

 ADP had previously assigned to him for his job. See TAC paras. 22, 23, and 81. For

 three years thereafter, Schwartz unlawfully kept the iPad until he returned it to ADP

 in September 2021 when a state court order threatened him with jail if he did not

 comply. See Exhibit A, Order on Plaintiff’s Motion for Sanctions Against Defendant

 for Failure to Comply with Court Order. Of note, Schwartz had ADP’s iPad in his

 possession when he filed the instant lawsuit and kept it for several months during the



 1
  In an effort to keep this Motion as concise as possible, a recitation of the facts and discovery
 in this case, as needed, may be found in Defendants’ Motion for Protective Order (ECF No.
 70), page 2-6. Likewise, the Court may review the Undisputed Facts in Defendants’ Motion
 for Summary Judgment (ECF No. 91, pages 4-11).
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 discovery period; there was no question it was a source of valuable, relevant

 information about this case. Still, he spoliated the evidence (or allowed it to be

 spoliated).

          The iPad is a critical source of evidence since Schwartz used the iPad to access

 his Apple ID account as well as ADP email, servers, and applications. It is undisputed

 that the iPad held both Schwartz’s communications and Apple ID accounts and direct

 connection to ADP servers and applications. During his employment with ADP,

 Schwartz used the iPad extensively to connect to ADP’s servers, ADP email, ADP’s

 virtual private network, and ADP’s various cloud-based applications (e.g., Salesforce).

 See Exhibit B, Excerpts of Dec. 23, 2021, Deposition of Schwartz, lines 4-15, page

 242. According to Schwartz, he did 90% of his work for ADP on the iPad and, without

 the iPad, it was “impossible to do [his] job.” Id. at lines 6-7, page 184 and line 6, page

 242. See also Exhibit C, Affidavit of Cindy Jimenez (“Jimenez Affidavit”), paragraphs

 9-24.

          The iPad was equipped with mobile device management software (“MDM

 Software”) which ensures the integrity of its confidential and proprietary data and

 applications. See Exhibit D, ADP’s June 30, 2022 Updated Answers to Interrogatories

 (“Updated Answers to Interrogatories”), Answer #3. ADP cannot determine which

 MDM Software was on the iPad because Schwartz erased the iPad. Id.; see also Exhibit

 C, Jimenez Affidavit, paragraphs 17-24. Either MDM Software would send and

 receive queries to and from the iPad and Apple servers. See Exhibit C, Jimenez

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 Affidavit,     paragraphs   9-24;   see   also   “Choose     an    MDM       solution,”

 https://support.apple.com/guide/deployment/choose-an-mdm-solution-

 dep1d7afa557/web (last visited July 20, 2022). MDM Software, like that which was

 installed on the iPad before Schwartz erased it, is designed to send queries to and from

 the iPad and Apple servers regarding software information, applications, and basic

 “business-centric functionalities.” Id. Once Schwartz was terminated, the iPad was

 un-enrolled from the list of devices which were supported by MDM Software however

 the MDM Software was (depending upon when Schwartz erased it) still on the iPad

 and would still be “pinging” Apple servers (some or all of those connections could

 come through ADP’s servers, depending upon how the iPad was logged onto the

 internet). See Exhibit C, Jimenez Affidavit, paragraphs 9-24. In short, during the

 2020-2021 period when these “connections” occurred, the iPad was an intersection

 of Schwartz’s Apple ID account(s), Apple servers, and ADP servers. However, with

 the iPad erased, Defendants and this Court are without critical evidence which

 Schwartz had wrongfully and exclusively possessed and spoliated.             See Id. at

 paragraphs 20-24; see also Exhibit D, Updated Answers to Interrogatories, Answers #1,

 3, and 6.

          Relative to his claim that Defendants were “hacking” him, Schwartz relies

 heavily, if not exclusively, on Exhibit R to the TAC which, according to him, includes

 “reports provided to Schwartz by Apple” with IP addresses and log-on dates. TAC at

 paragraph 79 and Exhibit R to TAC. However, Exhibit R to the TAC is a composite

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 exhibit which Schwartz compiled himself and it was the subject of Defendants’

 pending Third Motion to Compel Better Responses to Discovery and for Sanctions

 (“Motion to Compel”)(ECF No. 93). As the Court can see, Exhibit R to the TAC is

 silent as to who or what made the connection; how the connection was made; why;

 for how long; or what data was accessed or intercepted, if any. Schwartz admits that

 Apple never told him that Defendants (or anyone else) were hacking his account(s) or

 device(s). See Defendants’ Motion for Summary Judgment (ECF No. 91), page 11 and

 Exhibit G. Exhibit R to the TAC is Schwartz’s sole evidence that someone was

 “accessing” or “intercepting” his communications. See Motion to Compel, page 4 and

 exhibit C thereto.

          Schwartz contends that the “connections continued after Schwartz returned the

 iPad… on or about September 7, 2021” however Schwartz’s claim about

 “connections” (plural) is misleading. TAC at paragraph 81. There is one date after

 Schwartz returned the iPad – September 11, 2021 – where ADP’s IP address is listed

 on Exhibit R to the TAC. Exhibit R to TAC, page 43.2 Again, alone, Exhibit R to the

 TAC provides no details about any “connection” other than a date and an IP address.




 2Schwartz also installed MDM Software on his personal iPhone devices which could explain
 some or all of the “connections” between Apple and ADP servers. See Exhibit E, Schwartz’s
 May 10, 2022 Answers to March 4, 2022 Interrogatories, Answer #3; see also Exhibit C,
 Jimenez Affidavit, paragraphs 25-31. However, without access to the iPad, Defendants and
 the Court are missing a critical and obvious source of data and evidence on the central issues
 in this case.
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 All of the other dates involving ADP’s IP addresses listed in Exhibit R to the TAC

 occurred in 2020-2021 while Schwartz possessed ADP’s stolen iPad.3


          SCHWARTZ ERASED THE iPAD & REMOVED THE SIM CARD

          On September 7, 2021, Schwartz’s counsel sent the iPad to Joan Nevedal (“Ms.

 Nevedal”), ADP’s Senior Cyber Forensic Agent. See TAC at paragraph 81; see also

 Exhibit D, Updated Answers to Interrogatories, Answer #1. Upon Ms. Nevedal’s

 examination of the iPad, it was discovered that the iPad was returned in a factory-reset

 status (erased). Id. Due to these factors, no forensic examination could be conducted

 and the information that once existed on the iPad could not be recovered. Id.

          The spoliation caused by Schwartz’s unlawful actions have prevented

 Defendants from obtaining such discovery or evidence, which is necessary to defend

 against the claims against them. Id. at Answers 1, 3, and 6. Schwartz should be subject

 to sanctions based on his spoliation of evidence and withholding of discovery.

          Defendants aver that the iPad contained evidence about (a) Schwartz’s Apple

 ID accounts on ADP’s iPad; (b) how and when the iPad connected to Apple servers;

 (c) how Schwartz used the iPad to connect to ADP servers; (d) how the MDM software



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   Exhibit R to the TAC is a 65-page document of which only pages 6-19, 22-35, and 38-48
 reflect dates when someone or something allegedly “signed on” or “logged on” to Schwartz’s
 Apple ID account(s). Of those 39 exhibit pages, half do not even include ADP’s IP addresses.
 See TAC at paragraph 80 and compare Exhibit R to the TAC, pages 22-35 and 44-48 (19 pages).
 Stated differently, despite Schwartz’s exclusive reliance upon Exhibit R to the TAC, half
 of that unsworn document which Schwartz compiled does not even refer to ADP or
 support the Plaintiff’s claims.
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 functioned and communicated with Apple, ADP, or other servers; (e) what

 applications or functions on the iPad communicated with Apple, ADP, or other

 servers; and (f) general iPad functionality and how/when it was used. See Exhibit C,

 Jimenez Affidavit, paragraphs 9-24.

                      MEMORANDUM OF LAW AND ARGUMENT

     I.         Authority Supporting the Imposition of Sanctions for Spoliation

     Spoliation is defined as the destruction, or significant and meaningful alteration of

 evidence or the failure to preserve property for another's use as evidence in pending or

 reasonably foreseeable litigation. Landry v. Charlotte Motor Cars, LLC, 226 So. 3d 1053

 (Fla. 2d DCA 2017). Spoliation of evidence is a discovery violation warranting

 sanctions. See Martino v. Wal-Mart Stores, Inc., 908 So. 2d 342, 347 (Fla. 2005).

          Prior to exercising any leveling mechanism due to spoliation of evidence, a

 court must address a three-part threshold inquiry: (1) whether the evidence existed at

 one time, (2) whether the spoliator had a duty to preserve the evidence, and (3) whether

 the evidence was critical to an opposing party being able to prove its prima facie case

 or a defense. Pena v. Bi-Lo Holdings, LLC, 304 So. 3d 1254 (Fla. 3d DCA 2020) (citing

 Golden Yachts, Inc. v. Hall, 920 So. 2d 777, 781 (Fla. 4th DCA 2006)). The propriety of

 sanctions for failing to preserve evidence depends on 1) the willfulness or bad faith of

 the responsible party, 2) the extent of the prejudice suffered by the other party, and 3)

 what is required to cure the prejudice. Nationwide Lift Trucks, Inc. v. Smith, 832 So. 2d

 824, 826 (Fla. 4th DCA 2002).

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          a.    Plaintiff Anticipated Litigation and Had a Duty to Preserve

          Schwartz had a duty to preserve the “lost” ESI evidence (the iPad). “[O]nce a

 party reasonably anticipates litigation, it has an obligation to make a conscientious

 effort to preserve electronically stored information that would be relevant to the

 dispute.” Advantor Sys. Corp. v. DRS Tech. Servs., Inc., 2015 WL 403308, at *7 (M.D.

 Fla. Jan. 28, 2015) (citing United States v. DSE, Inc., No., 2013 WL 610531, at *7 (M.D.

 Fla. Jan.17, 2013)).

          Florida courts have recognized that a duty to preserve evidence can arise from

 a number of sources. See, e.g., Gayer v. Fine Line Constr. & Elec., Inc., 2 So. 3d 296, 297

 (Fla. 4th DCA 2008) (finding duty to preserve evidence can arise under statute); Cont'l

 Ins. Co. v. Herman, 576 So. 2d 313, 315 (Fla. 3d DCA 1990) (finding duty to preserve

 based on “legal or contractual duty”); see also League of Women Voters v. Detzner, 172 So.

 3d 363 (Fla. 2015) (recognizing a duty to preserve evidence when litigation should

 reasonably be foreseen).

          Litigation was reasonably foreseeable to Schwartz because he was sued for

 failure to return the iPad in 2018. See TAC at paragraph 33. Schwartz allegedly

 discovered the Apple-ADP “connection” in late February or early March 2020 but

 waited until April 2, 2021 to file suit. Id. at 71; see also Complaint, ECF No. 1.

 Schwartz continued to possess the iPad for months after suit was in active discovery

 (April 2 – September 7, 2021). See TAC at paragraph 81; see also Exhibit D, Updated

 Answers to Interrogatories, Answer #1. In addition to the general legal obligation not

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  to destroy evidence relevant to foreseeable litigation, Schwartz was under a contractual

  obligation not to destroy ESI pursuant to his restrictive covenant agreement. See

  Exhibit F, Complaint, passim, ADP, Inc. v. Schwartz, and exhibit A (paragraph 1(b)),

  exhibit B (paragraph 4(b)), and exhibit C (paragraph 6) thereto. The iPad is also

  specifically mentioned three times in the TAC. See TAC, paragraphs 22, 23, and 81.

  Finally, Schwartz was served with discovery requests about the iPad while he still

  possessed it. See Exhibit G, June 23, 2021 Interrogatories to Schwartz, #6-8.

           Schwartz was unquestionably on notice of the evidentiary importance of the

  iPad and had a duty to preserve it.

           b.    ESI Was Destroyed Because Plaintiff Failed to Take Reasonable Steps

  to Preserve It.

           Schwartz did not take reasonable steps to preserve the ESI on the iPad. The

  Updated Answers to Interrogatories and the Jimenez Affidavit establish that the ESI

  contained on Schwartz’s iPad is permanently lost and that (a) ADP did not erase the

  iPad and (b) there is no known way the iPad could erase itself. See Exhibit C, Jimenez

  Affidavit and Exhibit D, Updated Answers to Interrogatories. The ESI was lost

  because Schwartz intentionally wiped the iPad after he had an obligation to preserve

  it; alternatively, Schwartz failed to preserve evidence in his custody and control.4 The


  4
    It is anticipated that Schwartz, naturally, will blame ADP for the factory resetting of the
  iPad while it was in his possession. Through counsel, Schwartz has already communicated
  his theory that ADP “remotely” erased the iPad. In responding to this Motion for Sanctions,
  it is anticipated that Schwartz will not produce any evidence to support that claim (he will
  point to an ADP policy which does not reference “remote” erasure nor does it apply to devices
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  only step necessary to preserve the evidence here would have been for Schwartz to

  merely refrain from following the multi-step process to restore the iPad to its factory-

  reset setting, not remove the SIM card, and return the iPad to ADP. See Exhibit C,

  Jimenez Affidavit, paragraphs 32-34.

           c.    The ESI Evidence on the iPad Is Not Recoverable.

           “The final prerequisite to a spoliation finding is that the information ‘cannot be

  restored or replaced through additional discovery.’” Nationwide Life Ins. Co. v. Betzer,

  No. 5:18-CV-39-OC-30PRL, 2019 WL 5700288 (M.D. Fla. Oct. 28, 2019); Fed. R.

  Civ. P. 37(e). The Advisory Committee notes provide that loss of ESI from one source

  may be harmless if substitute information can be found elsewhere. Id. (citing Fed. R.

  Civ. P. 37(e), 2015 Notes of Advisory Committee).

           Upon receiving the iPad nearly three (3) years after Schwartz’s termination,

  ADP discovered that the iPad had been completely erased and missing the SIM card.

  The information that was destroyed is unique to the iPad. The iPad had MDM

  Software on it, which might have explained the occasional “connection” between

  ADP and Apple servers complained about by Schwartz. See generally Exhibit C,

  Jimenez Affidavit. The iPad also had ADP applications when it was issued to


  owned by ADP). As explained herein, ADP has not and cannot remotely erase the iPad.
  Importantly, however, ADP also cannot remotely make a SIM card disappear. The
  disappearance of the SIM card, coupled with the resetting of the iPad while in his possession,
  strongly suggests that Schwartz intentionally erased the iPad and destroyed the SIM card to
  eliminate all evidence of the iPad and its communications which strike the core of this action.
  At a bare minimum, the loss of both the contents of the iPad and the securely-installed SIM
  card indicate that Schwartz was not sufficiently diligent in protecting evidence.
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  Schwartz. Id. at paragraph 12. It would not be uncommon for the ADP applications

  to validate that they are legitimate copies from the App Store and “check in” with

  ADP and Apple, but this cannot be investigated due to the loss of the iPad contents.

  Id. at paragraphs 19; and 23-24. Finally, there likely would have been log files in iOS

  showing Schwartz’s user activity which might coincide or explain the “connection”

  between Apple and ADP servers. Id. at paragraphs 23-24. All of this information is

  destroyed and leaves Defendants without the ability to investigate. Id. at paragraph

  21; see also Exhibit D, Updated Answers to Interrogatories.

           The ESI evidence on the iPad is irretrievably lost. Unlike cases where

  electronically stored information is equally available to the requesting party from

  another source, the information here is not available to ADP through other third-party

  discovery because Schwartz wrongfully withheld ADP’s property (and evidence) and

  then lost (or destroyed) it. The only known location for the lost ESI is on the iPad itself

  and Plaintiff has not identified any alternative locations, which would contain said

  information.       Id. at paragraphs 21; see also Exhibit D, Updated Answers to

  Interrogatories.

           d.    ADP is Prejudiced By the Loss of ESI and Plaintiff Acted With Intent

  to Deprive Under Rule 37(e)(2)

           After determining that Schwartz spoliated ESI, the Court must then consider

  whether there is prejudice to Defendants from the loss of the information such that

  sanctions under subsection (e)(1) are warranted or whether the harsher penalties set

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  forth under subsection (e)(2), such as dismissal or adverse jury instructions are

  appropriate.

           “An analysis of whether there is prejudice or an intent to deprive overlaps.

  While a finding that the loss of the information is prejudicial isn't sufficient to establish

  an intent to deprive (nor is a finding of prejudice necessary to find an intent to deprive),

  a finding of intent to deprive can support ‘an inference that the lost information was

  unfavorable to the party that intentionally destroyed it’ and ‘also an inference that the

  opposing party was prejudiced by the loss of information that would have favored its

  position.’” Id. (citing Fed. R. Civ. P. 37(e), 2015 Notes of Advisory Committee). While

  the burden of establishing prejudice generally falls on the party seeking sanctions,

  courts acknowledge that it can often never be proven what was contained in destroyed

  evidence. Id. When resolving a spoliation issue, a court must not hold the prejudiced

  party to too strict a standard of proof regarding the likely contents of the destroyed

  evidence because doing so allows the spoliator to profit from the destruction of

  evidence; however, it should not be inferred that missing evidence was unfavorable

  unless the circumstances surrounding the evidence's absence indicate bad faith.” See

  Mech. Servs., Inc. v. Brody, 657 F. Supp. 2d 1293 (M.D. Fla. 2009).

           Under the circumstances, Plaintiff acted with the “intent to deprive”

  Defendants of the ESI in this case and in the other pending lawsuits involving the

  parties. Courts in the Eleventh Circuit have analyzed the “intent to deprive” standard

  under the Eleventh Circuit's definition of bad faith. Nationwide Life Ins. Co. v. Betzer,

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  5:18-CV-39-OC-30PRL, 2019 WL 5700288, at *10 (M.D. Fla. Oct. 28, 2019) (“The

  Eleventh Circuit recently suggested that the “bad faith” standard and the “intent to

  deprive” standard in Rule 37(e) are connected.” (citing ML Healthcare Services v. Publix

  Super Markets, Inc., 881 F.3d 1293, 1308 (11th Cir. 2018)).

           Defendants confirmed that the “wiped” state of the iPad could only be

  attributed to deliberate and intentional actions. See Exhibit C, Jimenez Affidavit at

  paragraphs 21-23. Bad faith can be established directly, such as when evidence is

  purposefully lost or destroyed. Jetport, Inc. v. Landmark Aviation Miami, LLC, No. 1:16-

  CV-23303-UU, 2017 WL 7732869, at *2 (S.D. Fla. July 24, 2017). The substantial and

  complete nature of the destruction of evidence by Schwartz alone justifies a finding

  that the destroyed evidence prejudiced ADP. See Brody, 657 F. Supp. 2d at 1300.

           In addition to the direct evidence of bad faith, the circumstances surrounding

  the destruction of data and Schwartz’s behavior leading up to the discovery of the

  spoliation of ESI are indicative of his bad faith. To establish bad faith through

  circumstantial evidence, the moving party must establish: (1) evidence once existed

  that could fairly be supposed to have been material to the proof or defense of a claim

  at issue in the case; (2) the spoliating party engaged in an affirmative act causing the

  evidence to be lost; (3) the spoliating party did so while it knew or should have known

  of its duty to preserve the evidence; and (4) the affirmative act causing the loss cannot

  be credibly explained as not involving bad faith by the reason proffered by the




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  spoliator. Brown Jordan Int'l, Inc. v. Carmicle, No. 0:14-CV-60629, 2016 WL 815827

  (S.D. Fla. Mar. 2, 2016), aff'd, 846 F.3d 1167 (11th Cir. 2017).

           These elements have already been established. The spoliated evidence would

  have been critical to Defendants’ ability to defend the allegations against them. It is

  difficult to imagine a single source of information that would be more highly relevant

  to the central issues in this case than the iPad which Schwartz used. Schwartz’s claims

  against Defendants relate to violations of the SCA, Wiretap Act, and the FSCA;

  Schwartz alleged that Defendants “accessed” or “intercepted” Schwartz’s

  communications. Needless to say, these claims are technical and require forensic

  analysis. Schwartz knew this; knew the iPad was relevant to this matter; and had a

  duty to preserve the ESI. Yet, Schwartz returned the iPad completely wiped of all

  information and missing the SIM card. This required more than one affirmative act on

  his part.

           In this case, Schwartz had both the motive and opportunity to wipe the iPad of

  all data. Plaintiff likely wiped the iPad device for two reasons: (1) Schwartz wanted to

  prevent ADP from accessing information which supports his claims and defenses in

  the state court cases and/or (2) Schwartz wanted to destroy any evidence which would

  contradict his unsubstantiated claims relating to the connection between ADP and

  Apple servers.




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           e.    Sanctions Are Appropriate for Schwartz’s Intentional Spoliation

  Under Rule 37(e)(2)

           Schwartz’s deliberate deletion and destruction of evidence unquestionably

  constitutes bad faith, warranting the imposition of severe sanctions against him. Upon

  a finding that a party acted with the intent to deprive another of ESI, the Court may

  “(A) presume the lost information was unfavorable to the party; (B) instruct the jury

  that it may or must presume the information was unfavorable to the party; or (C)

  dismiss the action or enter a default judgment.” Fed. R. Civ. P. 37(e)(2).

           Schwartz, through his wrongdoing, has denied Defendants the opportunity to

  present evidence that potentially could have defeated any claims of wrongdoing

  against them. Sanctions for spoliation of evidence are intended to prevent unfair

  prejudice to litigants and to insure the integrity of the discovery process. Brody, 657

  F.Supp at 1302.

           Defendants are cognizant that the dismissal of a party's pleading or striking of

  its defenses is a “heavy punishment, appropriate only as a last resort.” Eagle Hosp.

  Physicians, LLC v. SRG Consulting, Inc., 561 F.3d 1298, 1306 (11th Cir. 2009). However,

  the dismissal and striking of pleadings may be appropriate in situations such as the

  instant case, where lesser sanctions would not suffice to deter conduct or ensure the

  disobedient party’s compliance. People for the Ethical Treatment of Animals, Inc. v. Dade

  City's Wild Things, Inc., No. 8:16-CV-2899-T-36AAS, 2020 WL 897988 (M.D. Fla.

  Feb. 25, 2020).

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           Defendants alternatively request that they be entitled to an inference and jury

  instruction at trial that the evidence destroyed by Schwartz would have been

  advantageous to Defendants and disadvantageous/adverse to his claims. See Fed. R.

  Civ. P. 37(e)(2)(B). Finally, in addition to the other available sanctions the Court may

  and should enter against Plaintiff, Defendants request that the Court grant its fees and

  costs incurred in (1) determining that the evidence at issue had been spoliated and (2)

  bringing this action. This sanction is authorized by Federal Rule of Civil Procedure

  37. Nationwide Life Ins. Co. v. Betzer, No. 5:18-CV-39-OC-30PRL, 2019 WL 5700288

  (M.D. Fla. Oct. 28, 2019).

           WHEREFORE, Defendants, ADP, INC. and AUTOMATIC DATA

  PROCESSING, INC., respectfully request that, pursuant to Federal Rule of Civil

  Procedure 37(e), this Court enter an Order dismissing this action with prejudice and

  awards its fees and costs, or in the alternative, establish an adverse inference against

  Plaintiff, together with any other such further relief this Court deems just and proper.

                              RULE 3.01(g) CERTIFICATION

           Defendants, by and through counsel, certify that they conferred with Schwartz’s

  counsel on August 17, 2022 via a scheduled telephone conference regarding this Motion

  and the parties were unable to reach a compromise.




  {10601913: }                                17
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  Schwartz v. ADP, Automatic 21-CV-00283-SPC-KCD
  Defendants’ Revised Motion for Sanctions


  Dated: August 18, 2022.                         Respectfully submitted,
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                             CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been

  filed with the Clerk using the CM/ECF system, which will send an electronic notice

  of filing to all attorneys of record on August 18, 2022.

                                                  By: Christopher B. Hopkins
                                                   Christopher B. Hopkins, Esq.




  {10601913: }                               18
